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                        UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


IN RE: PHILIPS RECALLED CPAP, BI-LEVEL                         Master Docket: No. 21-mc-1230-JFC
PAP, AND MECHANICAL VENTILATOR                                 MDL No. 3014
PRODUCTS LITIGATION

PHILIPS RS NORTH AMERICA LLC and                               No. 2:24-cv-01077
PHILIPS NORTH AMERICA LLC,

                             Plaintiffs,

                       v.

PSN LABS, LLC,

                             Defendant.


            PLAINTIFFS’ RESPONSE TO DEFENDANT’S CLARIFICATIONS
              REGARDING MOTION FOR CONSOLIDATION INTO MDL

               Plaintiffs Philips RS North America LLC and Philips North America LLC write in

response to the Court’s Order (ECF No. 2973) to advise the Court of any objections to the

clarifications set forth in paragraph four of Defendant PSN Labs, LLC’s (“PSN”) Response to

Plaintiffs’ Motion for Consolidation into MDL (ECF No. 2962). In that paragraph, PSN requested

that the “Court’s Order of Consolidation expressly state: i) that consolidation is for pretrial

purposes only; ii) that PSN Labs, LLC will be permitted to obtain copies all [sic] prior discovery

in the Philips MDL; and iii) that PSN Labs LLC will be permitted to participate in all Discovery

Master and Court scheduled conferences in the Philips MDL.” (Id.) Plaintiffs do not object to any

of these three requests, but would clarify with respect to point ii) that while Plaintiffs will produce

to PSN all the documents they have produced in the Philips MDL, Plaintiffs are not authorized to,

and therefore will not, produce documents that were produced in the Philips MDL by others.
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Plaintiffs do not understand PSN to be asking Plaintiffs to produce documents that were produced

by others, and so Plaintiffs are making this clarification only in an abundance of caution.

               A proposed order is attached for the Court’s consideration.



Dated: September 23, 2024                              Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I certify that on September 23, 2024, the foregoing Response was filed electronically with

the Clerk of Court, using the CM/ECF system. Notice of this filing will be sent to all parties who

have appeared of record by operation of the Court's ECF system.



                                                      /s/ Michael H. Steinberg
                                                      Michael H. Steinberg




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